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Managing Photo and Video Tags
Editing Your Profile You can archive a post you've shared to hide it from your profile and make it so your followers

and other people on Instagram can't see it. When you archive a post, it keeps all its likes and

Sharing Photos and P| comments.

Videos .
To archive a post:

Exploring Photos ol

and Videos Instagram app for Android and iPhone

Direct Messaging 1 O — .
‘Tap (1 or your profile picture in the bottom right to go to your profile.

Stories 2. Tap the post you'd like to archive.
Reels 3. Tap ~° (iPhone) or = (Android) in the top right.
4. Select Archive.

Live

Instagram Lite app for Android
Videos

Once you've archived a post, you can choose to show it on your profile again. The post will
Fundraisers and q return to its original spot on your profile.
Donations

To show an archived post on your profile:

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1. Tap Z or your profile picture in the bottom right to go to your profile.
2. Tap =.

3. Tap Archive.

4. Tap Archive, then tap Posts (iPhone) or Posts Archive (Android).

5. Tap the post you'd like to show on your profile.

6. Tap ~~ (iPhone) or © (Android) in the top right, then select Show on Profile.

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